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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Dinesh Patel                                     Case No.: 1:24-cv-02535

                     Plaintiff,                  Judge Ana C. Reyes

               v.                                CERTIFICATE REQUIRED BY
                                                 LCvR 26.1 OF THE LOCAL RULES OF
Georgetown Software House, Inc.                  THE UNITED STATES DISTRICT
                                                 COURT FOR THE DISTRICT OF
                      Defendant.                 COLUMBIA


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and LCvR 26.1, I, the

undersigned, counsel of record for Defendant Georgetown Software House, Inc., certify that to

the best of my knowledge and belief, no parent corporation or publicly held corporation owns

10% or more of Georgetown Software House, Inc.’s stock. This representation is made in order

that judges of this Court may determine the need for recusal.

Dated: January 24, 2025                             DENTONS US LLP

                                                    By: /s/ Eliot S. Markman
                                                    Eliot S. Markman (D.C. Bar No. 1743128)
                                                    Dentons US LLP
                                                    Hanley Corporate Tower
                                                    101 S. Hanley, Suite 600
                                                    St. Louis, MO 63105
                                                    Telephone: (314) 241-1800
                                                    Facsimile: (314) 259-5959
                                                    eliot.markman@dentons.com

                                                    Attorney for Defendant Georgetown
                                                    Software House, Inc.
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                                 CERTIFICATE OF SERVICE

                 I hereby certify that on the 24th day of January 2025, I served a copy of the

foregoing upon the following via electronic mail and first class, U.S. mail, postage pre-paid to

the following:

    Dinesh Patel
    2118 Walsh Ave., Suite 240
    Santa Clara, CA 95050
    btcroot@gmail.com

                                                    /s/ Eliot S. Markman




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